               Case 8:19-ap-01195-TA               Doc 17 Filed 12/13/19 Entered 12/13/19 12:41:11          Desc
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                           Jamie E. Wrage, Bar #188982
                       1   Summer M. DeVore, Bar #323656
                           STREAM KIM HICKS WRAGE & ALFARO, PC
                       2   3403 Tenth Street, Suite 700
                           Riverside, CA 92501-3641
                       3   Telephone: (951) 783-9470
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                       4

                       5   Attorneys for Plaintiffs,
                           Rebecca Joan Joseph, Jonathan Joseph,
                       6   Steven Kramer, and Jason Joseph
                       7

                       8                                 UNITED STATES BANKRUPTCY COURT
                       9                CENTRAL DISTRICT OF CALIFORNIA- SANTA ANA DIVISION
                      10
                           In re:                                         ) BK Case No.: 8:19-bk-12480-TA
                      11                                                  )
                           Guy S. Griffithe                               )   Chapter 7
                      12                                                  )
                           Debtor.
                      13   ______________                                 )
                                                                          )
                                                                              Adv. No.: 8:19-ap-01195-TA
                                                                          )   NOTICE OF CONTINUANCE OF
                      14                                                  )   STATUS CONFERENCE RE:
                           REBECCA JOAN JOSEPH, JONATHAN
                           JOSEPH, STEVEN KRAMER, AND JASON               )   COMPLAINT TO DETERMINE
                      15                                                  )   DISCHARGEABILITY OF DEBT
                           JOSEPH
                                                                          )   [11 U.S.C. Section 523(a)(2)(A) and (a)(4)]
                      16                                                  )
                                           Plaintiffs,
                                                                          )   Status Conference Date:
                      17                                                  )   Date:    December 12, 2019
                           v.
                                                                          )   Time:    10:00 a.m.
                      18                                                  )
                           GUY S. GRIFFITHE
                                                                          )   New Status Conference Date:
                      19                                                  )   Date:    January 16, 2020
                                           Defendant.
                                                                          )   Time:    I 0:00 a.m.
                  20                                                      )   Place:   411 West Fourth Street
                                                                          )            Santa Ana, California 92701
                  21                                                      )            Courtroom 5B
                  22
                           _________________                              )

                  23       Ill

                  24       Ill

                  25       Ill

                  26       Ill

                  27       Ill

                  28       Ill

STREAMIKIM
ATTORNEYS AT LAW
3403 TENTH STREET,                  NOTICE OF CONTINUANCE OF STATUS CONFERENCE RE: COMPLAINT TO DETERMINE
      STE. 700
RIVERSIDE, CA 92501
                                            DISCHARGEABILITY OF DEBT [11 U.S.C. Section 523(a)(2)(A) and (a)(4)]
    951-783-9470
                  Case 8:19-ap-01195-TA          Doc 17 Filed 12/13/19 Entered 12/13/19 12:41:11                Desc
                                                  Main Document    Page 2 of 3



                        I          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                        2          PLEASE TAKE NOTICE that the Honorable Theodor Albert, United States Bankruptcy
                        3   Judge for the Central District of California, has continued the Status Conference Re: Complaint to
                        4   Determine Dischargeability of Debt [11 U.S.C. Section 523(a)(2)(A) and (a)(4)] from December
                        5   12, 2019 at 10:00 a.m. to January 16, 2020 at 10:00 a.m. in Courtroom 5B of the United States
                        6   Bankruptcy Court, located at 411 West Fourth Street, Santa Ana, California 92701.
                        7
                             Dated: December 13, 2019                      STREAM KIM HICKS WRAGE & ALF ARO, PC
                        8

                        9
                       10                                                  By: /s/ Jamie E. Wrage
                                                                              Jamie E. Wrage
                       II                                                     Summer M. DeVore
                                                                              Attorneys for Plaintiffs,
                       12                                                     Rebecca Joan Joseph, Jonathan Joseph,
                                                                              Steven Kramer, and Jason Joseph
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STREAMIKIM
ATTORNEYS AT LAW
3403 TENTI-l STREET,              NOTICE OF CONTINUANCE OF STATUS CONFERENCE RE: COMPLAINT TO DETERMINE
      STE. 700                            DISCHARGEABILITY OF DEBT [I I U.S.C. Section 523(a)(2)(A) and (a)(4)]
RIVERSIDE, CA 92501
   951-7B3-9470
            Case 8:19-ap-01195-TA                Doc 17 Filed 12/13/19 Entered 12/13/19 12:41:11                                         Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 3403 Tenth Street, Suite 700, Riverside, CA 92501

A true and correct copy of the foregoing document entitled (specify): Notice of Continuance of Status Conference Re:
Complaint to Determine Dischargeability of Debt [11 U.S.C. Section 523(a)(2)(A) and (a)(4)]


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING INEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 12/13/2019         I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Debtor's Attorney:                     Baruch C. Cohen - bcc@BaruchCohenEsq.com;
  Thomas H. Casey (TR):                  msilva@tomcaseylaw.com; thc@trustesolutions.net;
  United States Trustee (SA):            ustpregion 16.sa.ecf@usdoj.gov

                                                                                        D    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _ _ _ _ _ _ _, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                       D     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 12/13/2019           I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
  Honorable Theodor Albert, U.S. Bankruptcy Court, Santa Ana Division, Ronald Reagan Federal Building,
 411 W. Fourth Street, Santa Ana, CA 92701



                                                                                       D     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the forego·

12/13/2019         Kimberly Trease
 Date                        Printed Name



            This form is mandatory. It has been approved for use   by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
